Case 2:18-cv-04772-MEF-JBC       Document 376        Filed 04/07/25   Page 1 of 2 PageID:
                                      42473



                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY


                                               Civil Action No. 2:18-cv-04772-MEF-JBC

IN RE CELGENE CORPORATION
SECURITIES LITIGATION
                                                        ORDER


      THIS MATTER having been opened to the Court by Carella Byrne Cecchi

Olstein Brody & Agnello, P.C. ("Carella Byrne"), counsel for lead plaintiffs, and

counsel for Defendants not objecting, and the Court having considered the moving

papers, and good cause appearing:

      IT IS THIS 7th day of April. 2025,

      ORDERED that Alexander M. Noble is hereby admitted pro hac vice on

behalf of Plaintiffs for the above matter pursuant to L. Civ. R. 10 I. I (c); and it is

further

      ORDERED that all notices, pleadings, and other papers filed with the Court

shall be served upon Carella Byrne, and that Carella Byrne shall enter all

appearances and be responsible for signed papers and for the conduct of the attorney

admitted herewith, and it is further

      ORDERED that Alexander M. Noble shall make payments to the New Jersey

Lawyers' Fund for Client Protection as provided by New Jersey Court

Rule 1 :28-2(a) and shall make such payment as required for each year in which he


                                           1
Case 2:18-cv-04772-MEF-JBC   Document 376    Filed 04/07/25   Page 2 of 2 PageID:
                                  42474




                                   s/ James B. Clark, III
